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                   UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF TEXAS
                         ABILENE DIVISION

UNITED STATES OF AMERICA,
  Plaintiff,

v.                                              NO. 1:24-CR-060-01-H

AMY DIANE MCLEMORE (1),
  Defendant.

         ORDER ACCEPTING REPORT AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE
                  CONCERNING PLEA OF GUILTY

      After reviewing all relevant matters of record, including the Notice

Regarding Entry of a Plea of Guilty, the Consent of the Defendant, and the

Report and Recommendation Concerning Plea of Guilty of the United

States Magistrate Judge, and no objections thereto having been filed within

fourteen (14) days of service in accordance with 28 U.S.C. § 636(b)(1), the

undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court

accepts the plea of guilty and Defendant is hereby adjudged guilty.

      Sentence will be imposed in accordance with the Court’s scheduling

order.

      SO ORDERED.

      Dated March 3, 2025.


                                    __________________________________________
                                    JAMES WESLEY HENDRIX
                                    UNITED STATES DISTRICT JUDGE
